                  Case 23-50411-JTD               Doc 23    Filed 08/24/23         Page 1 of 7




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al.,1                                       Case No. 22-11068 (JTD)

         Debtors.                                                (Jointly Administered)


ALAMEDA RESEARCH LTD. AND CLIFTON
BAY INVESTMENTS LLC F/K/A ALAMEDA
RESEARCH VENTURES LLC,

                                    Plaintiffs,

                         - against -                             Adv. Pro. No. 23-50411 (JTD)

MICHAEL KIVES, BRYAN BAUM,
K5 GLOBAL HOLDINGS LLC, K5 GLOBAL
TECHNOLOGY LLC, MBK CAPITAL LP
SERIES T, K5 GROWTH CO-INVEST I GP
LLC, K5 GLOBAL GROWTH FUND I GP
LLC, K5 GLOBAL VENTURES LLC, MOUNT
OLYMPUS CAPITAL LP, MOUNT OLYMPUS
CAPITAL LLC, K5 GLOBAL GROWTH
FUND II LP, K5 GLOBAL GROWTH FUND II
GP LLC, K5X FUND I LP, K5X FUND I LLC,
AND SGN ALBANY LLC,
                        Defendants.


                        PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT
                           AGAINST DEFENDANT SGN ALBANY LLC

         Pursuant to Rule 55(b) of the Federal Rules of Civil Procedure (the “Federal Rules”), made

applicable to the above-captioned adversary proceeding (the “Adversary Proceeding”) by




1   The last four digits of FTX Trading Ltd.’s FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
    number are 3288 and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 cases, a
    complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
    herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing
    agent at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
    Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



{1368.002-W0072025.2}
                  Case 23-50411-JTD       Doc 23      Filed 08/24/23    Page 2 of 7




Rule 7055 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), plaintiffs

Alameda Research Ltd. and Clifton Bay Investments LLC f/k/a Alameda Research Ventures LLC

(“Plaintiffs”) hereby submit this motion (“Motion”) for entry of default judgment substantially in

the form attached hereto as Exhibit A against defendant SGN Albany LLC, a Delaware limited

liability company (the “SGN Albany”). In support of the Motion, the Plaintiffs respectfully state

as follows:

                                            Background

         1.       On November 11 and November 14, 2022, FTX Trading Ltd. and its affiliated

debtors and debtors-in-possession (the “Debtors”) filed with the United States Bankruptcy Court

for the District of Delaware (the “Court”) voluntary petitions for relief under Chapter 11 of the

Bankruptcy Code. The Debtors continue to operate their businesses and manage their properties

as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The

Court authorized joint administration of the Debtors’ cases (the “Chapter 11 Cases”) by entry of

an order on November 22, 2022 [D.I. 128].

         2.       On June 22, 2023, the Plaintiffs initiated the Adversary Proceeding by filing the

Complaint for Avoidance and Recovery of Transfers and Obligations Pursuant to 11 U.S.C. §§

105, 544, 547, 548 and 550, and Del. Code. Ann. Tit. 6, §§ 1304 and 1305, for Aiding and Abetting

Breach of Fiduciary Duty, for Dishonest Assistance Under the Law of the British Virgin Islands,

for Unjust Enrichment and for Disallowance of Claims Pursuant to 11 U.S.C. § 502 [Adv. D.I. 1]

(the “Complaint”). Through the Complaint, the Plaintiffs seek, among other relief, (i) to avoid and

recover $700 million from SGN Albany and all other defendants in the Adversary Proceeding,

plus the value of any additional avoidable transfers Plaintiffs learn, through discovery or otherwise,

were made to the defendants during the Avoidance Period; (ii) restitution for SGN Albany’s unjust

enrichment; and (iii) to disallow any and all claims filed or held by SGN Albany and all other


{1368.002-W0072025.2}                             2
                  Case 23-50411-JTD        Doc 23     Filed 08/24/23    Page 3 of 7




defendants in these bankruptcy proceedings unless and until defendants have turned over to

Plaintiffs the amount ordered as an award for avoidable transfers and obligations.

         3.       On July 13, 2023, the Plaintiffs’ attempted service upon SGN Albany by serving

GKL Registered Agents of DE, Inc. (“GKL”), its registered agent. GKL, however, refused to

accept service on behalf of SGN Albany because it had resigned as of June 21, 2023. A true and

correct copy of the affidavit of service for the service attempt made on July 13, 2023 is attached

as Exhibit 1 to the Declaration of Matthew B. McGuire in Support of Plaintiffs’ Request for Entry

of Default, filed contemporaneously herewith.

         4.       On July 21, 2023, service of the Complaint and Summons and Notice of Pretrial

Conference in an Adversary Proceeding (the “Summons”) was made on SGN Albany pursuant to

Federal Rule 4(e)(1) by serving the Secretary of State of the State of Delaware (the “Delaware

Secretary of State”) in accordance with the laws of the state of Delaware under 6 Del. C. § 18-

105(b). A copy of the Summons and a certificate of service was filed on July 26, 2023, a true and

correct copy of which can be found at Adv. Docket No. 5.

         5.       Pursuant to the Summons, SGN Albany was required to answer or otherwise

respond to the Complaint by or before August 21, 2023 (the “Response Deadline”). The Response

Deadline has passed, and SGN Albany has failed to plead, otherwise defend or enter an appearance

in the Adversary Proceeding.

         6.       Contemporaneously herewith, the Plaintiffs are requesting entry of default against

SGN Albany by the Clerk. Plaintiffs will serve a copy of their request for entry of default and this

Motion in accordance with Local Rule 7055.

                                       Jurisdiction and Venue

         7.       The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for


{1368.002-W0072025.2}                             3
                  Case 23-50411-JTD       Doc 23      Filed 08/24/23     Page 4 of 7




the District of Delaware, dated February 29, 2012. This matter is a core proceeding pursuant to

28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and 1409. The

predicates for the relief sought by the Motion are Federal Rule 55(b)(2) and Bankruptcy Rules

7012(b) and 7055. Pursuant to rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure for the United States Bankruptcy Court of the District of Delaware (the “Local Rules”),

the Debtors consent to the entry of a final order or judgment by the Court in connection with this

Motion to the extent it is later determined that the Court, absent consent of the parties, cannot enter

final orders or judgments consistent with Article III of the United States Constitution.

                                         Request for Relief

         8.       By this Motion, Plaintiffs seek the entry of default judgment pursuant to Federal

Rule 55(b)(2), solely against SGN Albany, as compensation for Plaintiffs’ unjust enrichment

claims, a judgment assigning to Plaintiffs, jointly and severally, of all SGN Albany’s (i) rights and

interests in defendants K5 Global Holdings LLC, MBK Capital LP Series T, K5 Global

Technology LLC, K5 Global Growth Co-Invest I GP LLC, K5 Global Growth Fund I GP LLC,

and/or K5 Global Ventures LLC that SGN Albany acquired as a result of the K5 Transaction, and

any proceeds of the K5 Transaction; and (ii) all rights and interests in defendant Mount Olympus

Capital LP that SGN Albany acquired as a result of the Mount Olympus Transaction, and any

proceeds of the Mount Olympus Transaction.

         9.       Federal Rule 4(e), made applicable to the Adversary Proceeding by Bankruptcy

Rule 7004(a), permits a plaintiff to effectuate service by “following state law for serving a

summons in an action brought in courts of the general jurisdiction in the state where the district

court is located or where service is made.” Fed. R. Civ. P. 4(e)(1). Delaware law permits service

upon a Delaware limited liability company by serving the Delaware Secretary of State if service




{1368.002-W0072025.2}                             4
                  Case 23-50411-JTD       Doc 23     Filed 08/24/23     Page 5 of 7




on a Delaware limited liability company cannot be made upon its registered agent. See 6 Del. C.

§§ 18-104(d), 18-105(b).

         10.      SGN Albany’s registered agent resigned as of June 21, 2023 and a new registered

agent has not been appointed. Under 6 Del. C. § 18-104(d), when a registered agent resigns and a

new registered agent is not appointed “service of legal process against [a] limited liability company

… for which the resigned registered agent had been acting shall thereafter be upon the Secretary

of State in accordance with [6 Del. C. § 18-105].” Accordingly, service upon the Delaware

Secretary of State is proper and SGN Albany has been duly served with the Complaint and

Summons.

         11.      Despite being duly served with the Complaint and Summons, SGN Albany has not

filed an answer, motion or other response to the Complaint and has not otherwise appeared in the

Adversary Proceeding.

         12.      In considering a motion for default judgment, “the factual allegations of the

complaint, except those relating to the amount of damages, will be taken as true. N.E.C.A. Local

Union No. 313 I.B.E.W. Health v. H&H Servs. Elec. Contrs., Inc., 2023 U.S. Dist. LEXIS 93528,

at *5 (D. Del. May 30, 2023); see also Comdyne I, Inc. v. Corbin, 908 F.2d 1142, 1149 (3d Cir.

1990).

         13.      “Where a summons and complaint have been properly served and the defendant has

failed to respond, the [c]ourt concludes that the defendant’s actions, or lack thereof, (1) serve as

an admission of the material allegations of the complaint except as to the amount of damages …

and (2) constitute implied consent to the entry of a default judgment by a bankruptcy judge. Exec.

Sounding Bd. Assocs. v. Advanced Mach. & Eng'g Co. (In re Oldco M Corp.), 484 B.R. 598, 614

(Bankr. S.D.N.Y. 2012); see also Montcalm Publishing Corp. v. Ryan, 807 F.Supp. 975, 977




{1368.002-W0072025.2}                            5
                  Case 23-50411-JTD        Doc 23      Filed 08/24/23    Page 6 of 7




(S.D.N.Y.1992) (“A default constitutes admission as to liability; therefore, the effect of a

[defendant’s] default is that it is deemed to have admitted all of the well-pleaded allegations raised

in the complaint pertaining to liability.”).

                  The procedure contemplated by Rule 55 is elegant in its simplicity.
                  In considering a motion for default judgment, a court is required to
                  review the file to determine if the summons and complaint have been
                  properly served, whether an answer or other responsive pleading has
                  been timely filed, and, if not, whether additional proof is necessary
                  in order to determine the type of relief to be granted (e.g., a money
                  judgment). No more, no less.

In re Taylor, 495 B.R. 28, 34 (10th Cir. 2013).

         14.      By reason of SGN Albany’s default it is deemed to have admitted all of the

allegations in the Complaint, and thus Plaintiffs, jointly and severally, should be awarded (i) all

rights and interests in defendants K5 Global Holdings LLC, MBK Capital LP Series T, K5 Global

Technology LLC, K5 Global Growth Co-Invest I GP LLC, K5 Global Growth Fund I GP LLC,

and K5 Global Ventures LLC that SGN Albany acquired as a result of the K5 Transaction, and

any proceeds of the K5 Transaction; and (ii) all rights and interests in defendant Mount Olympus

Capital LP that SGN Albany acquired as a result of the Mount Olympus Transaction, and any

proceeds of the Mount Olympus Transaction.

         WHEREFORE, for the foregoing reasons, the Plaintiffs respectfully request that the Court

enter a default judgment in favor of the Plaintiffs and against SGN Albany, grant the relief

requested herein in substantially the form attached hereto as Exhibit A, and grant such other and

further relief as is just and proper.




{1368.002-W0072025.2}                              6
                  Case 23-50411-JTD   Doc 23     Filed 08/24/23   Page 7 of 7




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{1368.002-W0072025.2}                      7
